
THE following entry was made on the records of the Superior Court of law for Harrison county, on the 7th May, 1813. “ It appearing to the court, from , the “ affidavit of William Davis, that Jacob Israel, of the “county of Harrison,..gentle man, one of the common» “ wealth’s justices of the peace within and for the said “ county of Harrison, has been and is employed in the “ transportation of the mail of the United States, from the Green Glades to Marietta, by virtue of a contract “ made with the post master general of uie United States “ for that purpose, and that the said Jacob Israel, while “ so employed in the transportation of the said mail, has “ continued, and still continues to act as one of the com- “ monwealth’s justices of the peace, within and for the “ said county of Harrison.
“ The attorney for the commonwealth, therefore moves “ the court to make a rule upon the said Jacob Israel, to ..“ shew cause, on the first day of the next term, if any he “ hath, or can shew, why an information shall not be filed “ against him for exercising the said office of a justice u of the peace, while employed as aforesaid ⅛ the tran- *318“ portation of the mail aforesaid, and which motion is “ adjourned to the general court, on account of novelty “ and difficulty, upon the following points, viz. whether u the said Jacob Israel, by making the contract aforesaid, “ and being employed in performance thereof, in trans- “ porting the mail aforesaid, is disqualified from holding “ and exercising the office of a justice of Ae peace afore- “ said.”
June 12th, 1818. The general court, consisting of judges Holmes, Semple, and Randolph, decided, “ That “ the defendant by making the contract stated in the re- “ cord, and being employed in the performance thereof, “ in transporting the mail, is disqualified from holding “ and exercising the office of a justice of the peace.”
See 1st Vol. Rev. Code, p. 392.
